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                 In the U.S. District Court for the District of New Hampshire




John & Jane Doe,

        Plaintiffs;

V.                                                            Case No. fl, -
St. Paul's School


        Defendant.




                      Memorandum in Support of Plaintiffs' Motion
                          for Leave to Proceed Under Pseudonyms

        This action stems from the sexual assault of a 15-year-old freshman girl at the

elite St. Paul's School ("St. Paul's") by a student participating in the "Senior Salute" —a

tradition of statutory rape of which Defendant was aware and accepted as part of

campus culture. Plaintiffs are suing Defendant because of its lack of action to

discourage and prevent statutory rape and sexual assault occurring pursuant to this

noxious custom. By this motion. Plaintiffs rely on well-settled law and policy that

permits Plaintiffs to proceed under pseudonyms. Such an allowance is necessary to

protect the privacy of a child from further grievous invasion.

                                                     Facts!


        Plaintiffs John and Jane Doe are the parents of J.D., a St. Paul's student (at the

time) who was sexually assaulted in a machine room on the St. Paul's campus by



' These facts arederived from theallegations in the Complaint that is being filed contemporaneously herewith.



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another student looking to "score" in the Senior Salute, a competition by which senior

males, in the spring prior to commencement, attempt to have sexual relations with as

many girls in lower classes as they can. Most of these girls are under the age of 16 and

are therefore unable to give legal consent to these sexual encounters. J.D. was 15 years

old at the time of the assault and is now 17 years old.

       Defendant was fully cognizant of the tradition, as students wrote in St. Paul's

publicly distributed newspaper that it was an "accepted and expected" part of campus

life, students discussed it with faculty and in their publicly distributed yearbooks, and,

in one instance, a student even investigated the practice for an independent study

project titled: "The Real Student Handbook: The Little Red Book" —a project for which

Michael G. Hirschfeld, the school rector, served as faculty advisor.

      The "Slaymakers," a group of senior males participating in the contest, would

also ritualistically and publicly rub an on-campus engraving of their namesake, "Robert

Barrie Slaymaker." Owen Labrie, the perpetrator of the assault on J.D., was a member of

the Slaymakers who Defendant knew, or should have known, had a role in the Senior

Salute and a propensity for violent sexual behavior. In 2013, Labrie wrote about the

custom in the student newspaper — asking, "Is secret scoring in dirty Schoolhouse

closets the key to happiness?" Shortly before the assault on J.D., a female student

reported to a senior school administrator that Labrie had been "overly aggressive" in a

sexual encounter by, among other things, biting her and pulling her hair. Labrie was




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found guilty of the sexual assault on J.D., as well as illegal use of computer services and

endangering the welfare of a child.

       The effort of the Does and J.D. to report these crimes and shed light on the

dangerous and irresponsible culture of St. Paul's was met with indifference, hostility,

and outright retaliation from the insular school community. J.D. informed a faculty

dormitory administrator of her rape days after it occurred, but the faculty member

chose not to alert authorities. Those at the school who were aware of her identity

mocked her allegations in public settings in front of faculty members, who did nothing

to stop it. Other groups of students threatened and harassed her.

      The provocation and persecution was so great that she left after the following

semester and never returned. Yet her privacy has remained imperiled by supporters of

Labrie and the school. She has been overtly threatened by online commentators who

have written that they "are putting a target" on Labrie's accuser and "she is gonna get

used and abused."


      Plaintiffs bring this case seeking relief for the severe and permanent harm that

has resulted to J.D. as a result of Defendant's inaction and fostering a culture that

accepted sexual assault as a normal part of campus life. J.D. is a minor and her identity

should be protected in this lawsuit. Because the Does are her parents, revealing their

names would necessarily reveal her identity. Accordingly, they should be permitted to

proceed in this litigation by using pseudonyms as well.




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                                           Argument


       The Federal Rules of Civil Procedure state that "the title of the complaint must

name all the parties" and "an action must be prosecuted in the name of the real party in

interest." Fed. R. Civ. P. 10(a) & 17(a)(1). Although the U.S. Supreme Court has never

formally acknowledged the permissibility of using a pseudonym, it has heard cases

with pseudonymous plaintiffs without criticism or comment of the practice, see, e.g., Roe

V. Wade, 410 U.S. 113,124 (1973); Doe v. Bolton, 410 U.S. 179,187 (1973), and parents have

proceeded pseudonymously on behalf of their minor children in this Court before, see,

e.g., Dorren W. v. MWfV Healthcare Assocs., Inc., 937 F. Supp. 2d 194,195 (D.N.H. 2013);

B.K. V. Toumpas, Civil No. 09-cv-94-JL, 2012 WL 1977118 at *1 (D.N.H. June 1, 2012); BK

V. Neiv Hampshire Dep't of Health & Human Sews., 814 F. Supp. 2d 59, 61 (D.N.H. 2011) —

including in cases alleging sexual misconduct at a school, see Doe v. Londonderry Sch.

Dist., 970 F. Supp. 64, 66 (D.N.H. 1997). "[T]he decision whether to allow a plaintiff to

proceed anonymously rests within the sound discretion of the court." Doe v. C.A.R.S.

Protection Plus, Inc., 527 F.3d 358,371 n. 2 (3'''^ Cir. 2008).

       To proceed anonymously, plaintiffs must satisfy their burden of demonstrating

that they have "a substantial privacy right which outweighs the customary and

constitutionally-embedded presumption of openness in judicial proceedings." Macinnis

V. Cigna Grp. Ins. Co. of Am., 379 F. Supp. 2d 89, 90 (D. Mass. 2005) (quoting Doe v. Bell

Atl. Bus. Sys., 162 F.R.D. 418, 420 (D. Mass. 1995)). The U.S. District Court for the Eastern




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District of New York has articulated six factors to be considered in making this

determination:


                  (1) Whether the plaintiff is challenging governmental
                      activity or an individual's actions;

                  (2) Whether the plaintiff's action requires disclosure of
                      information of the utmost intimacy;

                  (3) Whether the action requires disclosure of the plaintiff's
                      intention to engage in illegal conduct;

                  (4) Whether identification would put the plaintiff at risk of
                      suffering physical or mental injury;

                  (5) Whether the defendant would be prejudiced by allowing
                      the plaintiff to proceed anonymously; and

                  (6) The public interest in guaranteeing open access to
                      proceedings without denying litigants access to the
                     justice system.

See EW v. Neiv York Blood Ctr., 213 F.R.D. 108,110 (2003) (internal citations removed).

These factors overwhelmingly favor permitting Plaintiffs to proceed by pseudonym in

this case.


   I.        Plaintiffs' Claims Require Disclosure of Information of Utmost Intimacy.

        This action is the result of a sexual assault on a minor. The facts of that assault


are highly sensitive and personal to J.D. and merit pseudonymous pleading. That J.D.

will live in constant fear of widespread recognition is a key feature of the injuries she

has suffered. Requiring the disclosure of J.D.'s identity would only serve to exacerbate

these injuries.




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       The weight of legal precedent militates in favor of using a pseudonym to protect

the identity of children who were subjected to sexual activity, see Plaintiff B

V. Francis, F.3d 1310,1317 (ll^ii Cir. 2011) (describing plaintiffs "explicit sexual conduct

while they were minors" was "sensitive and highly personal," meriting use of

pseudonyms), and particularly in cases of sexual assault and abuse, see Doe v. Oshrin,

299 F.R.D. 100, 104-105 (D.N.J. 2014); Doe v. St. John's Episcopal Day Sch., Inc.,

997 F. Supp. 2d 1279,1290 (M.D. Fla. 2014); Doe v. Lee, No. C 13-04029, 2014 WL 630936

at *2 (N.D. Calif. Feb. 18,2014) ("because being taken advantage of in a sexual manner

as a minor is of a highly sensitive and personal nature, cases involving such an issue

have often been found to allow for the use of a fictitious name") (citing John Doe 140

V. Archdiocese of Portland, 249 F.R.D. 358,361 (D. Ore. 2008)).

       These cases all indicate that child victims of sexual assault and other misconduct,

if their identities are publicly exposed, face the possibility of harm well beyond mere

embarrassment. This is true for J.D., even if she becomes a legal adult during this

pending litigation. See Doe v. City of Marion, Ind., No. l:00-CV-468, 2002 WL 32072794 at

*2 (N.D. Ind. Feb. 1, 2002) (even though plaintiff alleging sexual molestation as a child

had obtained the age of majority, court ordered use of pseudonym); see also R.P. v.

Seattle Sch. Dist., No. C13-2218-MJP, 2014 WL 639408 (W.D. Wash. Feb. 18, 2014) (even

in the case of a lawsuit brought by a then-adult, "clear public policy considerations"

dictated that "[sjuing for alleged sexual violence experienced as a child" does not "strip

Plaintiff of privacy protections courts regularly provide such victims"). Even though


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this case does not require the disclosure of any alleged intention by the Does and J.D. to

engage in illegal activity, it does require the disclosure of information of the utmost

intimacy — which weighs strongly in favor of allowing the Does and J.D. to proceed

under pseudonyms.

   II.       Identifying Plaintiffs Puts Them at Risk of Suffering Further Injury.

          This is a lawsuit against an elite boarding school —that costs nearly $60,000 a

year to attend — with alumni in the upper echelons of business, politics, the arts, and

academia. Its supporters in this dispute include not just the school community,

students, parents, teachers, and graduates, but also others who generally believe that

exclusive, affluent educational institutions should not be scrutinized for the sex-charged

atmospheres on their campuses. As described above, numerous individuals, who may

or may not be associated with St. Paul's, have sown the Internet with requests for

information about J.D.'s identity and direct threats against her and her family. Further,

revealing the Does and J.D.'s identities in this matter would attach permanent

humiliation and stigma to J.D. that would follow her for the remainder of her life,

resulting in extreme anguish and emotional harm. Publishing the Does and J.D.'s names

in this lawsuit would greatly increase the chance of further injury to them, both

mentally and physically.

   III.      Plaintiffs' Proceeding Anonymously Would Not Prejudice Defendant.

          Defendant knows the identity of J.D. and the Does and will not, from a litigation

standpoint, be adversely impacted by Plaintiffs' use of pseudonyms; there is therefore


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no procedural unfairness amounting to potential infringement of their constitutional

rights. See, e.g., Doe v. Smith, 105 F. Supp. 2d 40, 45 (E.D.N.Y. 1999) (no prejudice when

defendant's ability to litigate is not affected by anonymity of plaintiffs). In addition.

Plaintiffs have attached to this motion an affidavit that sets forth the full names of John

Doe, Jane Doe and J.D. as well as their current address in Exhibit A to this Motion,

which is being filed under seal. Moreover, the defendant in this case, St. Paul's, "is not

an ordinary private party, with interests relating solely to its personal life and business

reputation," but, rather, a school "organized to perform an important, public service" —

educating children. See EW, 213 F.R.D. at 112. The case is therefore more "analogous to

one involving a government defendant, where personal anonymity is more readily

granted because of the existence of a public interest in the action and a lesser interest in

personal reputation." Id.

       There has "already been substantial press" relating to the assault on J.D. and the

criminal actions of Mr. Labrie, as well as the school's tolerance of the "Senior Salute"

tradition. See id. Revealing the identity of the Does and J.D. would not mitigate any

prior negative publicity nor prevent more negative publicity. Given these

circumstances, "any additional prejudice to the defendantjs'] reputation or ability to

operate merely by the pursuit of the action under a pseudonym appears minimal." Id.-,

accord Doe No. 2 v. Kolko, 242 F.R.D. 193,196 (E.D.N.Y. 2006). It is clear that this motion is

not sought "to impair defendant's ability to defend [itself], to delay the litigation or to

increase the costs to defendantjs]." Doe v. Provident Life & Accident Ins. Co., 176 F.R.D.




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464, 469 (E.D. Pa. 1997). As such, there is no meaningful prejudice to Defendant that

would result from the Does and J.D.'s use of pseudonyms.

   IV.      The Public Interest in Keeping Plaintiffs' Identities Confidential is Strong.

         While there is always some level of public interest in open access to legal

proceedings, that "operates only as a presumption and not as an absolute, unreviewable

license to deny." James v. Jacobsen, 6 F.3d 233, 238 (4'ii Cir. 1993). In this case, there is a

stronger countervailing public interest in keeping the Does and J.D. anonymous. The

public has a strong interest in preventing the stigmatization of minor victims of sexual

assault or other sexual misconduct. See Oshrin, 299 F.R.D. at 104. The public also has a

strong interest in removing deterrents to minor victims of sexual assault from

vindicating their rights.

         The public interest in learning the Does and J.D.'s identities is not atypically

weighty in the present case; the Does and J.D. are private citizens "seeking to litigate

private and highly-sensitive issues," not public officials "from whom the public

possesses a heightened interest." Id. Further, the "proceedings will remain public,

thereby preserving any general public interest in the subject matter of this litigation." Id.

As such, the public interest in favor of permitting anonymity overcomes any general

public interest in open legal proceedings. See, e.g., Provident Life & Accident Ins., 176

F.R.D. at 469.




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                                       Conclusion


       This case falls squarely within the class of cases in which courts —including this

one — have permitted parties to proceed anonymously. The highly sensitive nature of

the allegations underlying this case, the minor status of the victim, and the substantial

risk of harm to the Does and J.D. should their identities be revealed all strongly favor

permitting them to keep their identities confidential. Accordingly, Plaintiffs respectfully

request that this Court grant this motion and thereby permit Jane Doe, John Doe, and

J.D. to use pseudonyms in this litigation.

                                             Respectfully submitted.




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